Special counsel appearing for petitioner moves his admission to practice as an attorney and counselor at law in the courts of this state.
[1] The identical state of facts found in the case of NormanC. Howden v. The State Bar of California, ante, p. 604 [283 P. 820], this day decided, is made a part of his petition; therefore, upon authority of said last-mentioned case, it is hereby ordered that petitioner, John L. Telegdi, be and he is hereby admitted to practice in all the courts of this state, and the clerk will deliver him a certificate of such authority upon his taking the prescribed oath and signing the roll of attorneys.
Waste, C.J., Richards, J., Seawell, J., Langdon, J., and Shenk, J., concurred.
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